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                         IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                 FAYETTEVILLE DIVISION

     UNITED STATES OF AMERICA                                       PLAINTIFF

     v.                         Case No. 07-50034-003

     OSCAR BLADIMIR ESCALANTE                                       DEFENDANT


                                         ORDER

           Currently before the Court is the defendant’s Motion to

     Withdraw Motion to Suppress (Doc. 52). Upon due consideration, the

     motion is GRANTED and the Motion to Suppress (Doc. 50) is hereby

     ordered WITHDRAWN.

           IT IS SO ORDERED this 6th day of August 2007.



                                                 /S/JIMM LARRY HENDREN
                                                 JIMM LARRY HENDREN
                                                 UNITED STATES DISTRICT JUDGE
